                    Case 20-10036-CSS           Doc 55      Filed 02/19/20        Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re                                                     )     Chapter 11
                                                              )
    TOUGH MUDDER INC., et al., 1                              )     Case No. 20-10036 (CSS)
                                                              )
                            Debtors.                          )     Joint Administration Requested
                                                              )
                                                              )     RE: D.I. 37
                                                              )

  CERTIFICATE OF NO OBJECTION REGARDING CHAPTER 11 TRUSTEE’S
MOTION FOR ENTRY OF AN ORDER DIRECTING THE JOINT ADMINISTRATION
               OF THE DEBTORS’ CHAPTER 11 CASES

                    The undersigned hereby certifies that, as of the date hereof, Morris, Nichols,

Arsht & Tunnell LLP (“Morris Nichols”) has received no answer, objection, or other responsive

pleading to the Chapter 11 Trustee’s Motion for Entry of an Order Directing the Joint

Administration of the Debtors’ Chapter 11 Cases [D.I. 37] (the “Motion”), filed on February 11,

2020.

                    The undersigned further certifies that Morris Nichols has caused the review of the

Court’s docket in these cases and that no answer, objection, or other responsive pleading to the

Motion appears thereon. Pursuant to the notice of hearing on the Motion, the deadline to file and

serve objections or responses to the Motion was February 18, 2020, at 4:00 p.m. (EST).




1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
              Case 20-10036-CSS         Doc 55     Filed 02/19/20   Page 2 of 2




               WHEREFORE, the Trustee respectfully requests that the order attached to the

Motion be entered at the earliest convenience of the Court.

Dated: February 19, 2020               MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                        /s/ Brett S. Turlington
                                       Curtis S. Miller (No. 4583)
                                       Matthew B. Harvey (No. 5186)
                                       Joseph C. Barsalona II (No. 6102)
                                       Matthew O. Talmo (No. 6333)
                                       Brett S. Turlington (No. 6705)
                                       1201 N. Market Street, 16th Floor
                                       P.O. Box 1347
                                       Wilmington, Delaware 19899-1347
                                       Telephone: (302) 658-9200
                                       Facsimile: (302) 658-3989
                                       Email: cmiller@mnat.com
                                               mharvey@mnat.com
                                               jbarsalona@mnat.com
                                               mtalmo@mnat.com
                                               bturlington@mnat.com

                                       Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                       11 Trustee to Tough Mudder Inc. and Tough Mudder
                                       Event Production Inc.
